IT IS SO ORDERED.

Dated: 30 July, 2019 12:28 PM




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE:
                                                     IN PROCEEDINGS UNDER CHAPTER 7
JASON A. GIESE
                                                     CASE NO. 19-10011
                        DEBTOR.
_____________________________________                ADV. NO. 19-1043
JASON A. GIESE

                               PLAINTIFF.

             v.                                      JUDGE JESSICA E. PRICE SMITH


SALLIE MAE, ET AL,

                               DEFENDANTS.

                          ORDER TO APPEAR AND SHOW CAUSE

         Plaintiff is ordered to appear and show cause as to why this adversary proceeding should

not be dismissed. The main case was closed prior to the filing of this adversary complaint. In

addition, the Defendants were not timely served. The Plaintiff is ordered to appear and show

cause on August 21, 2019 at 10:00 a.m.



         IT IS SO ORDERED.

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